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 4

 5 Attorney for Defendant
   LAURA PEZZI
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 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00190 GEB
12                                 Plaintiff,             STIPULATION REGARDING
                                                          AMENDING PRETRIAL
13   v.                                                   SUPERVISION CONDITIONS;
                                                          ORDER
14   USA v Dichiara, et al.
15                                 Defendant.
16
            Defendant, LAURA PEZZI, by and through her counsel of record, TONI WHITE, and the
17          GOVERNMENT hereby stipulate as follows:
18          1. Pretrial services officer Renee Basurto advised both Audrey Hemesath, the AUSA in this
                matter, and Toni White, defense counsel, that she believes it is advisable to remove the
19              special condition that Ms. Pezzi be subject to alcohol and drug testing at this time.
            2. Ms. Pezzi has been on pretrial supervision for the entirety of her case and has never had a
20              violation.
            3. Officer Basurto provided counsels with the attached proposed amended special
21              conditions of release.
22          4. All parties stipulate to these amended conditions. All parties further stipulate that all
                other conditions remain in full force and effect.
23          By this stipulation, and based on the above, defendant now moves to amend the pretrial
            release conditions to delete the condition requiring drug and alcohol testing and to adopt the
24          attached amended special conditions.
25          IT IS SO STIPULATED.
26          Dated: June 30, 2018                          PHILLIP A. TALBERT
27                                                        Acting United States Attorney

28                                                        By:    /s/ Toni White for
                                                      1
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                                                  AUDREY HEMESATH
 1                                                Assistant U.S. Attorney
 2
                                                  For the United States
 3
          Dated: June 30, 2018          By:       /s/ Toni White _
 4                                                TONI WHITE
                                                  For Defendant Laura Pezzi
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 7

 8                                            ORDER

 9        IT IS SO FOUND AND ORDERED
10 Dated: July 2, 2018

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